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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

CONSTITUTION PARTY OF               )
MISSOURI, et al.,                   )
                                    )
            Plaintiffs,             )
                                    )                  Case No. 4:15-CV-207
      v.                            )
                                    )
ST. LOUIS COUNTY, MISSOURI, et al., )
                                    )
            Defendants.             )

               DEFENDANT ST. LOUIS COUNTY’S MOTION TO DISMISS

     COMES NOW Defendant St. Louis County, Missouri (“County”), through counsel, and

moves pursuant to Rule 12(b) of the Federal Rules of Civil Procedure to dismiss Plaintiff’s

Complaint because (1) there no longer exists an actual case or controversy for purposes of

federal court jurisdiction under Article III and 28 U.S.A. §2201, (2) the abstention doctrine bars

federal review of the questions presented herein since such a review would disrupt state efforts to

establish a coherent policy regarding matters of substantial public concern, and (3) Plaintiffs

have no reasonable expectation that the same wrong will be repeated and lack standing to put

forth the claims of future, hypothetical plaintiffs.

      Pursuant to Local Rule 7-4.01, Defendant has filed its Memorandum in Support of the

Motion To Dismiss contemporaneously herewith, and incorporates the same by this reference.

      WHEREFORE, Defendant County respectfully request the Court to dismiss Plaintiffs’

Complaint, and grant them any such other and further relief the Court deems fair and

appropriate.
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                                                   Respectfully Submitted,

                                                   PETER J. KRANE
                                                   COUNTY COUNSELOR

                                                    /s/Peter J. Krane__________
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                                                   Attorneys for Defendant St. Louis County,
                                                   Missouri


                             CERTIFICATE OF SERVICE

   I hereby certify that on February 23, 2015, a true and accurate copy of the foregoing
Defendant St. Louis County’s Motion To Dismiss was filed and served via the Court’s
electronic filing system upon all counsel of record.

                                                                /s/ Peter J. Krane
                                                                 Peter J. Krane




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